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                                                        January 21,2021
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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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12   Ed Hull,                                  Case No.: 2:20-cv-11027-SB-AFM
13               Plaintiff,                    Hon. Stanley Blumenfeld, Jr
14       v.
15                                             ORDER FOR DISMISSAL WITH
     Vercher 120 LLC, a California Limited     PREJUDICE
     Liability Company; and Does 1-10,
16
                 Defendants.                   Action Filed: December 4, 2020
17                                             Trial Date: Not on Calendar
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                               ORDER FOR DISMISSAL WITH PREJUDICE
     Case 2:20-cv-11027-SB-AFM Document 14 Filed 01/21/21 Page 2 of 2 Page ID #:55



 1         Pursuant to Fed. R. Civ. P. 41, the Court, having considered the documents before
 2   it, and being fully advised finds as follows:
 3         IT IS ORDERED THAT:

 4         Plaintiff Ed Hull’s (“Plaintiff”) action against Defendant Vercher 120 LLC, a
 5   California Limited Liability Company; (“Defendant”) is dismissed with prejudice. Each
 6   party will be responsible for their own fees and costs.
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     Dated: 1/21/2021

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                                                        Stanley Blumenfeld, Jr.
12                                                     United States District Judge
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                              ORDER FOR DISMISSAL WITH PREJUDICE
